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4                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
5                                    AT TACOMA
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7      SECURITIES AND EXCHANGE
       COMMISSION,
8                                                   CASE NO.
                                    Plaintiff(s),   3:22−cv−05150−RJB
9                         v.
                                                    MINUTE ORDER REGARDING
10                                                  DISCOVERY AND DEPOSITIONS
       S−RAY INCORPORATED et al.,
11
12                                Defendant(s).

13         IT IS ORDERED that:
14         1. DISCOVERY. All discovery matters should be resolved by agreement if
15   possible. If a ruling is needed on any discovery question, and counsel wish to avoid
16   the time and expense of a written motion, they may obtain an expedited ruling through
17   a telephone conference to the court at 253−882−3870.
18         2. DEPOSITIONS. Depositions will be conducted in compliance with the
19   following rules:
20               (a) Examination. If there are multiple parties, each side should ordinarily
21   designate one attorney to conduct the main examination of the deponent, and any
22   questioning by other counsel on that side should be limited to matters not previously
23   covered.
24               (b) Objections. The only objections that should be raised at the deposition
25   are those involving a privilege against disclosure, or some matter that may be remedied
26   if presented at the time (such as the form of the question or the responsiveness of the

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1    answer), or that the question seeks information beyond the scope of discovery.
2    Objections on other grounds are unnecessary and should be avoided. All objections
3    should be concise and must not suggest answers to, or otherwise coach, the deponent.
4    Argumentative interruptions will not be permitted.
5                 (c) Directions Not to Answer. Directions to the deponent not to answer
6    are improper. Advice not to answer may be appropriate on the ground of privilege or
7    to enable a party or deponent to present a motion to the court or special master for
8    termination of the deposition on the ground that it is being conducted in bad faith or in
9    such a manner as unreasonably to annoy, embarrass or oppress the party or the
10   deponent, or for appropriate limitations upon the scope of the deposition (e.g., on
11   the ground that the line or inquiry is not relevant nor reasonably calculated to lead to
12   the discovery of admissible evidence). When a privilege is claimed, the witness
13   should nevertheless answer questions relevant to the existence, extent or waiver of the
14   privilege, such as the date of the communication, who made the statement in question,
15   to whom and in whose presence the statement was made, other persons to whom the
16   contents of the statement have been disclosed, and the general subject matter of the
17   statement.
18                (d) Responsiveness. Witnesses will be expected to answer all questions
19   directly and without evasion, to the extent of their testimonial knowledge, unless they
20   choose to follow the advice of counsel not to answer.
21                (e) Private Consultation. Private conferences between deponents and
22   their attorneys during the actual taking of the deposition are improper, except for the
23   purpose of determining whether a privilege should be asserted. Unless prohibited by the
24   court for good cause shown, such conferences may, however, be held during normal
25   recesses and adjournments.
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1                (f) Conduct of Examining Counsel. Examining counsel will refrain from
2    asking questions he or she knows to be beyond the legitimate scope of discovery, and
3    from undue repetition.
4                (g) Courtroom Standard. All counsel and parties should conduct
5    themselves in depositions with the same courtesy and respect for the rules that are
6    required in the courtroom during trial.
7          3. RESPONSIBILITY OF PLAINTIFF'S COUNSEL. This order is issued at
8    the outset of the case, and a copy is delivered by the clerk to counsel for plaintiff.
9    Plaintiff's counsel (or plaintiff, if pro se) is directed to deliver a copy of this order
10   to each other party within ten (10) days after receiving notice of that party's appearance.
11
12         DATED: March 21, 2022
13
14         The foregoing Minute Order authorized by THE HONORABLE ROBERT J.
15   BRYAN, UNITED STATES DISTRICT JUDGE.
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